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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:peopleofthestateofcoloradovsegurano22sc8162024co70november4,2024"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 70&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Francine Erica Segura&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 22SC816&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="175" class="ldml-paragraph "&gt;&lt;span class="ldml-pagenumber" data-val="2" data-page_type="bare_number" data-id="pagenumber_175"&gt;&lt;/span&gt;

 &lt;span data-paragraph-id="175" data-sentence-id="188" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:peoplevsegura,no20ca1785" data-prop-ids="sentence_188"&gt;&lt;span class="ldml-cite"&gt;Case No. 20CA1785&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="3" data-page_type="bare_number" data-id="pagenumber_267"&gt;&lt;/span&gt;

 Attorneys for &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Philip J. Weiser&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Majid Yazdi&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt; Denver,
 Colorado&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="406" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="406" data-sentence-id="419" class="ldml-sentence"&gt;Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Erin Wigglesworth Denver&lt;/span&gt;&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="479" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="479" data-sentence-id="492" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyerrole"&gt;Amicus Curiae&lt;/span&gt; &lt;span class="ldml-lawfirm"&gt;Office of Alternate Defense
 Counsel&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;The Noble Law&lt;/span&gt; Firm, LLC &lt;span class="ldml-entity"&gt;Antony Noble Lakewood&lt;/span&gt;,
 Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="4" data-page_type="bare_number" data-id="pagenumber_615"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="615" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="615" data-sentence-id="628" class="ldml-sentence"&gt;JUSTICE SAMOUR &lt;span class="ldml-entity"&gt;DELIVERED &lt;span class="ldml-entity"&gt;THE OPINION OF &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt;&lt;/span&gt;, IN WHICH
 CHIEF JUSTICE &lt;span class="ldml-entity"&gt;MARQUEZ&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;BOATRIGHT&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt;,
 JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;HART&lt;/span&gt;, AND JUSTICE&lt;/span&gt; BERKENKOTTER
 JOINED.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="5" data-page_type="bare_number" data-id="pagenumber_811"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-opinion"&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (SAMOUR)"&gt;&lt;span data-paragraph-id="811" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="811" data-sentence-id="824" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="832" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="832" data-sentence-id="845" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;, JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="861" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="861" data-sentence-id="872" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_872"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 When a rule &lt;span class="ldml-quotation quote"&gt;"is as clear as a glass slipper and fits
 without strain, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; should not approve an interpretation
 that requires a shoehorn."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="861" data-sentence-id="1018" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884544354" data-vids="884544354" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_1081,sentence_872"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demko v. United
 States&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;216 F.3d 1049, 1053&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Fed. Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;making the
 comment with respect to &lt;span class="ldml-entity"&gt;the interpretation of &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="861" data-sentence-id="1151" class="ldml-sentence"&gt;Instead, in such a situation, our task is simply to apply the
 rule - i.e., &lt;span class="ldml-quotation quote"&gt;"merely to put &lt;span class="ldml-parenthetical"&gt;[the glass slipper]&lt;/span&gt; on the
 foot where it belongs."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="861" data-sentence-id="1294" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889229990" data-vids="889229990" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_1379,sentence_1151"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lexington Ins. Co. v.
 Precision Drilling Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;830 F.3d 1219, 1220&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2016&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; this in the context of statutory
 interpretation&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1438" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1438" data-sentence-id="1449" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_1449"&gt;&lt;span class="ldml-cite"&gt;¶2
 Rule 35 of the Colorado Rules of Criminal Procedure&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides
 postconviction remedies &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; may seek.&lt;/span&gt;&lt;span data-paragraph-id="1438" data-sentence-id="1560" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; As relevant here,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_1560"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the rule allows &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to &lt;span class="ldml-quotation quote"&gt;"file a
 motion . . . to vacate, set aside, or correct the
 sentence"&lt;/span&gt; based &lt;span class="ldml-quotation quote"&gt;"on one or more of the grounds
 enumerated in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_1560"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1438" data-sentence-id="1770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_1560"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1438" data-sentence-id="1789" class="ldml-sentence"&gt;One of
 the grounds listed in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_1789"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is the ineffective
 assistance of trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1438" data-sentence-id="1883" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_1789"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1902" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1902" data-sentence-id="1913" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_1913"&gt;&lt;span class="ldml-cite"&gt;¶3
 Paragraphs &lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt; through &lt;span class="ldml-parenthetical"&gt;(IX)&lt;/span&gt; of section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; then delineate
 the procedures that must be followed in filing and resolving
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_1913"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1902" data-sentence-id="2065" class="ldml-sentence"&gt;The procedures in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_2065"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and
 &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; are at the hub of this opinion.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="6" data-page_type="bare_number" data-id="pagenumber_2140"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2140" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2140" data-sentence-id="2151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_2151"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_2151"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concludes that the motion,
 the record, and the file show that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is not
 entitled to relief, it must deny the motion without
 forwarding a copy to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and the &lt;span class="ldml-entity"&gt;Office of &lt;span class="ldml-entity"&gt;the
 Public Defender&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"OPD"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="2413" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_2151"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="2436" class="ldml-sentence"&gt;But
 if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; does not so conclude, then &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_2436"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 requires &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to forward a copy of the motion to &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; and, if the motion requests the appointment of
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, then also to the OPD.&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="2646" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_2436"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="2668" class="ldml-sentence"&gt;The OPD
 must then file a response within forty-nine days indicating
 whether it has a conflict of interest and, if not, whether it
 intends to enter its appearance and whether it needs more
 time to investigate &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s claims.&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="2904" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_2668"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="2140" data-sentence-id="2908" class="ldml-sentence"&gt;If the OPD enters its appearance, it must include in its
 response any additional claims that have arguable merit.&lt;/span&gt;
&lt;span data-paragraph-id="2140" data-sentence-id="3023" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_2908"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="3027" class="ldml-sentence"&gt;After the motion &lt;span class="ldml-parenthetical"&gt;(as supplemented by the OPD)&lt;/span&gt;
 has been fully briefed, an evidentiary hearing must be held
 unless &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; finds it appropriate to dispose of the
 motion without a hearing.&lt;/span&gt; &lt;span data-paragraph-id="2140" data-sentence-id="3218" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_3027"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3222" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3222" data-sentence-id="3233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_3233"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Francine Erica Segura&lt;/span&gt;, filed a
 pro se &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_3233"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; raising multiple ineffective
 assistance of trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; claims and requesting the
 appointment of postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3222" data-sentence-id="3451" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 followed neither of the paths outlined in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_3451"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and
 &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3222" data-sentence-id="3540" class="ldml-sentence"&gt;Instead, it took a middle-of-the-road approach: It
 denied all but one claim and then forwarded a copy of the
 motion to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and the OPD with instructions
 limiting the OPD's

&lt;span class="ldml-pagenumber" data-val="7" data-page_type="bare_number" data-id="pagenumber_3729"&gt;&lt;/span&gt;
 appointment to the lone surviving claim.&lt;/span&gt; &lt;span data-paragraph-id="3222" data-sentence-id="3772" class="ldml-sentence"&gt;Because the OPD had
 a conflict of interest, an attorney from the &lt;span class="ldml-entity"&gt;Office of
 Alternate Defense &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"OADC"&lt;/span&gt;)&lt;/span&gt; was appointed as
 postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="3222" data-sentence-id="3925" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; That attorney filed a supplement to the
 &lt;span class="ldml-entity"&gt;pro se motion&lt;/span&gt; with respect to the one claim within the
 limited scope of her representation.&lt;/span&gt; &lt;span data-paragraph-id="3222" data-sentence-id="4062" class="ldml-sentence"&gt;Following an evidentiary
 hearing on that claim, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denied Segura's &lt;span class="ldml-entity"&gt;request
 for postconviction relief&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3222" data-sentence-id="4173" class="ldml-sentence"&gt;A division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 reversed &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order in part, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted
 &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;petition for writ&lt;/span&gt; of
 certiorari.&lt;/span&gt;&lt;span data-paragraph-id="3222" data-sentence-id="4318" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN3" class="ldml-noteanchor" id="note-ref-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4321" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4321" data-sentence-id="4332" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_4332"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; now asks &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to read a hybrid path into &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_4332"&gt;&lt;span class="ldml-cite"&gt;Crim.
 P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; -one which allows &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; to &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
 deny some &lt;span class="ldml-parenthetical"&gt;(but not all)&lt;/span&gt; of the claims raised in a &lt;span class="ldml-entity"&gt;pro se
 motion&lt;/span&gt; requesting &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; without first forwarding a copy of
 it to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and the OPD, and then &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; appoint the
 OPD solely on any remaining claims.&lt;/span&gt; &lt;span data-paragraph-id="4321" data-sentence-id="4673" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline to do so
 because the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_4673"&gt;&lt;span class="ldml-cite"&gt;Crim.

&lt;span class="ldml-pagenumber" data-val="8" data-page_type="bare_number" data-id="pagenumber_4732"&gt;&lt;/span&gt;
 P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not support such an interpretation.&lt;/span&gt;
&lt;span data-paragraph-id="4321" data-sentence-id="4795" class="ldml-sentence"&gt;Much like Cinderella's stepsisters couldn't wedge
 their feet into the glass slipper, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; can't
 force this fit into &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_4795"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, no matter how
 hard it wiggles.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4983" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4983" data-sentence-id="4994" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_4994"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that when, as here, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; files a pro se &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_4994"&gt;&lt;span class="ldml-cite"&gt;Crim.
 P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; that contains a request for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; has two, and only two, choices.&lt;/span&gt; &lt;span data-paragraph-id="4983" data-sentence-id="5161" class="ldml-sentence"&gt;First, it may
 conclude, based on its review of the motion, the record, and
 the file, that &lt;em class="ldml-emphasis"&gt;none of the claims&lt;/em&gt; has arguable
 merit, in which case it must deny the motion &lt;em class="ldml-emphasis"&gt;in its
 entirety&lt;/em&gt; without further action by entering written
 findings of fact and conclusions of law.&lt;/span&gt; &lt;span data-paragraph-id="4983" data-sentence-id="5433" class="ldml-sentence"&gt;Second, it may
 conclude, based on its review of the motion, the record, and
 the file, that &lt;em class="ldml-emphasis"&gt;at least one claim&lt;/em&gt; has arguable
 merit, in which case it must grant the request for
 postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and forward &lt;em class="ldml-emphasis"&gt;a complete copy&lt;/em&gt;
 of the motion to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and the OPD.&lt;/span&gt; &lt;span data-paragraph-id="4983" data-sentence-id="5709" class="ldml-sentence"&gt;The OPD must
 then determine which claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; lack arguable merit and
 should be abandoned, which arguably meritorious claims &lt;span class="ldml-parenthetical"&gt;(if
 any)&lt;/span&gt; should be supplemented, and which new claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt;
 have arguable merit and should be added.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5946" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5946" data-sentence-id="5957" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_5957"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thus, upon its initial review of a &lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt; like
 the one filed by Segura in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must either
 deny the motion and thus all of the claims, or not deny the
 motion and thus none of the claims-there is no betwixt and
 between option.&lt;/span&gt; &lt;span data-paragraph-id="5946" data-sentence-id="6222" class="ldml-sentence"&gt;And if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denies none of the claims,
 it may not restrict the scope of postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s
 representation.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="9" data-page_type="bare_number" data-id="pagenumber_6342"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6342" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6342" data-sentence-id="6353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_6353"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because the division was spot-on in ruling that &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_6353"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and because &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; does not challenge the division's conclusion
 that the error was not harmless, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm.&lt;/span&gt; &lt;span data-paragraph-id="6342" data-sentence-id="6577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; remand &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt; with instructions to return it to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; for
 further proceedings consistent with this opinion.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-ordinal_end="1" data-value="I.
 Facts and Procedural History" data-id="heading_6702" data-types="background" data-content-heading-label="
 I.
Facts and Procedural History
" data-format="upper_case_roman_numeral" data-specifier="I" data-ordinal_start="1" data-confidences="very_high" id="heading_6702"&gt;&lt;span data-paragraph-id="6702" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="6702" data-sentence-id="6713" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="6702" data-sentence-id="6716" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="6745" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6745" data-sentence-id="6756" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_6756"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Segura and two others carried out an armed home invasion
 robbery.&lt;/span&gt; &lt;span data-paragraph-id="6745" data-sentence-id="6828" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; later charged her with multiple
 crimes.&lt;/span&gt; &lt;span data-paragraph-id="6745" data-sentence-id="6885" class="ldml-sentence"&gt;Following a jury trial, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was convicted of two
 counts of second degree kidnapping and one count of
 aggravated robbery.&lt;/span&gt; &lt;span data-paragraph-id="6745" data-sentence-id="7008" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then sentenced her to 111 years
 in prison.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7062" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7062" data-sentence-id="7073" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7073"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Segura appealed, but a division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 affirmed her conviction and sentence, and our &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 thereafter denied her petition for certiorari.&lt;/span&gt; &lt;span data-paragraph-id="7062" data-sentence-id="7235" class="ldml-sentence"&gt;After the
 mandate issued, Segura timely filed a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_7235"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;motion
 asking &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;&lt;/span&gt; to reconsider her sentence.&lt;/span&gt; &lt;span data-paragraph-id="7062" data-sentence-id="7358" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial
 court&lt;/span&gt; did so and reduced her sentence to seventy-three years.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7431" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7431" data-sentence-id="7442" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7442"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 From prison, Segura later filed a pro se &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_7442"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;postconviction motion&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7431" data-sentence-id="7526" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; advanced various claims of
 ineffective assistance of trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and requested the
 appointment of postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7431" data-sentence-id="7656" class="ldml-sentence"&gt;In a separate
 pleading, Segura reiterated her request for the appointment
 of postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="10" data-page_type="bare_number" data-id="pagenumber_7759"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7759" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7759" data-sentence-id="7770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7770"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Upon its initial review of Segura's &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_7770"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; denied ten of her eleven claims.&lt;/span&gt; &lt;span data-paragraph-id="7759" data-sentence-id="7884" class="ldml-sentence"&gt;The
 sole surviving claim dealt with trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s alleged
 ineffective assistance in plea negotiations.&lt;/span&gt; &lt;span data-paragraph-id="7759" data-sentence-id="7991" class="ldml-sentence"&gt;As to that
 claim, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; granted Segura's request for
 postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7759" data-sentence-id="8074" class="ldml-sentence"&gt;Consequently, it forwarded a copy of
 the motion to both &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and the OPD.&lt;/span&gt; &lt;span data-paragraph-id="7759" data-sentence-id="8160" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 was clear: The OPD was &lt;span class="ldml-quotation quote"&gt;"appointed"&lt;/span&gt; only on the
 remaining claim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8240" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8240" data-sentence-id="8251" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_8251"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because the OPD had a conflict of interest, an attorney with
 the OADC entered her appearance on Segura's behalf with
 respect to the single claim on which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; appointed
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8240" data-sentence-id="8442" class="ldml-sentence"&gt;Thereafter, consistent with &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s
 restriction on the scope of her representation,
 postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; submitted a supplemental &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_8442"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; focusing exclusively on the ineffective
 assistance claim grounded in &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' plea
 negotiations.&lt;/span&gt; &lt;span data-paragraph-id="8240" data-sentence-id="8706" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;supplemental motion&lt;/span&gt; contended that: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
 trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had failed to convey to Segura the plea offers
 and the deadlines to accept them; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; to the extent that
 trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had shared all pertinent information about the
 plea offers, Segura did not understand the penalties &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was
 facing or the full benefit of those offers.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9043" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9043" data-sentence-id="9054" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_9054"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After the &lt;span class="ldml-entity"&gt;supplemental motion&lt;/span&gt; was fully briefed, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 held an evidentiary hearing limited in scope to the
 ineffective assistance claim related to plea negotiations.&lt;/span&gt; &lt;span data-paragraph-id="9043" data-sentence-id="9231" class="ldml-sentence"&gt;At
 the end of the hearing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; took the matter under
 advisement.&lt;/span&gt; &lt;span data-paragraph-id="9043" data-sentence-id="9304" class="ldml-sentence"&gt;In a subsequent written order, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denied
 Segura's &lt;span class="ldml-entity"&gt;request for

&lt;span class="ldml-pagenumber" data-val="11" data-page_type="bare_number" data-id="pagenumber_9376"&gt;&lt;/span&gt;
 postconviction relief&lt;/span&gt;, concluding that her trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had
 not been ineffective in discussing the plea offers with her
 or in explaining the possible penalties with respect to the
 charges brought against her.&lt;/span&gt;&lt;span data-paragraph-id="9043" data-sentence-id="9590" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN4" class="ldml-noteanchor" id="note-ref-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9593" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9593" data-sentence-id="9604" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_9604"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Segura appealed, arguing, as relevant here, that &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; erred by limiting postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s
 representation and denying most of the claims without a
 hearing.&lt;/span&gt; &lt;span data-paragraph-id="9593" data-sentence-id="9785" class="ldml-sentence"&gt;The division affirmed in part and reversed in part.&lt;/span&gt;
&lt;span data-paragraph-id="9593" data-sentence-id="9837" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:peoplevsegura,no20ca1785" data-prop-ids="sentence_9785"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;People v. Segura&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;No. 20CA1785&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_9785"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Sept. 15,
 2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9593" data-sentence-id="9892" class="ldml-sentence"&gt;It affirmed the portion of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order
 denying Segura's claim that her trial &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had been
 ineffective in handling plea negotiations.&lt;/span&gt; &lt;span data-paragraph-id="9593" data-sentence-id="10043" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_9892"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at
 ¶ 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9593" data-sentence-id="10057" class="ldml-sentence"&gt;But it reversed the remainder of the order,
 concluding that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_10057"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and improperly restricted postconviction
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s representation.&lt;/span&gt; &lt;span data-paragraph-id="9593" data-sentence-id="10242" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_10057"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶
 16, 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9593" data-sentence-id="10261" class="ldml-sentence"&gt;Thereafter, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; sought our intervention,
 and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; accepted its &lt;span class="ldml-entity"&gt;petition for writ&lt;/span&gt; of certiorari.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10368" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10368" data-sentence-id="10379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_10379"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Before turning our attention to the certiorari issue, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 address &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s preservation contention and
 articulate the standard that guides our review.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="12" data-page_type="bare_number" data-id="pagenumber_10545"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-ordinal_end="2" data-value="II.
 Preservation and Standard of Review" data-id="heading_10545" data-types="standardofreview" data-content-heading-label="
 II.
Preservation and Standard of Review
" data-format="upper_case_roman_numeral" data-specifier="II" data-ordinal_start="2" data-confidences="medium" id="heading_10545"&gt;&lt;span data-paragraph-id="10545" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="10545" data-sentence-id="10556" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="10545" data-sentence-id="10560" class="ldml-sentence"&gt;Preservation and Standard of Review&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10596" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10596" data-sentence-id="10607" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_10607"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; maintains that the issue &lt;span class="ldml-entity"&gt;we&lt;/span&gt; confront was
 forfeited by Segura and is thus subject to plain error
 review.&lt;/span&gt; &lt;span data-paragraph-id="10596" data-sentence-id="10733" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, Segura failed to
 preserve the issue because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; didn't object to &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s restriction on the scope of postconviction
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s representation.&lt;/span&gt; &lt;span data-paragraph-id="10596" data-sentence-id="10918" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; note that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;
 took a run at convincing the division of the same contention.&lt;/span&gt;
&lt;span data-paragraph-id="10596" data-sentence-id="11010" class="ldml-sentence"&gt;It didn't succeed.&lt;/span&gt; &lt;span data-paragraph-id="10596" data-sentence-id="11029" class="ldml-sentence"&gt;And it doesn't succeed here
 either, albeit for a different reason.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11097" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11097" data-sentence-id="11108" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_11108"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The division ruled that Segura's request for the
 appointment of postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; sufficed to preserve
 her assertion that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in sidelining
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s representation on all but one claim.&lt;/span&gt;
&lt;span data-paragraph-id="11097" data-sentence-id="11326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_11108"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Segura&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶ 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11097" data-sentence-id="11340" class="ldml-sentence"&gt;Thus, the division rejected &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt;'s forfeiture claim.&lt;/span&gt; &lt;span data-paragraph-id="11097" data-sentence-id="11405" class="ldml-sentence"&gt;Accordingly, it reviewed
 de novo &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s reading of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11405"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and
 &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and, having found error, it employed the harmless error
 standard of reversal.&lt;/span&gt; &lt;span data-paragraph-id="11097" data-sentence-id="11572" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_11405"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 22-23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11589" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11589" data-sentence-id="11600" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_11600"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; chose not to ask &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to review the
 division's determination vis-a-vis preservation, that
 issue is not properly before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11589" data-sentence-id="11752" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889367290" data-vids="889367290" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_11807,sentence_11600"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Berge v. Berge&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;536 P.2d 1135, 1136&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;declining to consider an
 issue not raised in the &lt;span class="ldml-entity"&gt;petition for writ&lt;/span&gt; of certiorari&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/915233473" data-vids="915233473" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_11600"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Jagged Peak Energy Inc. v. Okla. Police Pension &amp;Ret.
 Sys.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 CO 54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_11600"&gt;&lt;span class="ldml-cite"&gt;¶ 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:523p3d438,453"&gt;&lt;span class="ldml-cite"&gt;523 P.3d 438, 453&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="13" data-page_type="bare_number" data-id="pagenumber_11996"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="11589" data-sentence-id="11997" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; assume without deciding that Segura properly
 preserved the issue for review.&lt;/span&gt;&lt;span data-paragraph-id="11589" data-sentence-id="12088" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN5" class="ldml-noteanchor" id="note-ref-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12091" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12091" data-sentence-id="12102" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12102"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; review the lower &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;' construction of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_12102"&gt;&lt;span class="ldml-cite"&gt;paragraphs
 &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; de novo.&lt;/span&gt; &lt;span data-paragraph-id="12091" data-sentence-id="12184" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:hunsakervpeople,2021co83" data-prop-ids="sentence_12102"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hunsaker v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO
 83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12102"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/901256373" data-vids="901256373" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_12244"&gt;&lt;span class="ldml-cite"&gt;500 P.3d 1110, 1114&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that our &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 enjoys &lt;span class="ldml-quotation quote"&gt;"plenary authority to promulgate and interpret
 the rules of criminal procedure,"&lt;/span&gt; and that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de
 novo the construction of those rules, using the same canons
 available for &lt;span class="ldml-entity"&gt;the interpretation of &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888575566" data-vids="888575566" class="ldml-reference" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;People v. Bueno&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;2018 CO 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888575566" data-vids="888575566" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;409 P.3d 320,
 325&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12091" data-sentence-id="12551" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do with &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; first read the language of
 a rule &lt;span class="ldml-quotation quote"&gt;"consistent with its plain and ordinary meaning,
 and, if it is unambiguous, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply the rule as
 written."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12091" data-sentence-id="12723" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:peoplevsteen,2014co9" data-prop-ids="sentence_12551"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Steen&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 CO 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12551"&gt;&lt;span class="ldml-cite"&gt;¶
 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovsteencaseno13sa123318p3d487february3,2014"&gt;&lt;span class="ldml-cite"&gt;318 P.3d 487, 490&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12091" data-sentence-id="12777" class="ldml-sentence"&gt;To determine whether a lower
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s error in interpreting &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_12777"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; warrants
 reversal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; inquire whether the error was harmless.&lt;/span&gt;
&lt;span data-paragraph-id="12091" data-sentence-id="12915" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895292952" data-vids="895292952" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_12777"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Davis&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 COA 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12777"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895292952" data-vids="895292952" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_12973"&gt;&lt;span class="ldml-cite"&gt;272 P.3d
 1167, 1170&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;applying the harmless error

&lt;span class="ldml-pagenumber" data-val="14" data-page_type="bare_number" data-id="pagenumber_13003"&gt;&lt;/span&gt;
 standard of reversal to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s failure to
 comply with the procedural requirements of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-ordinal_end="3" data-value="III.
 Analysis" data-id="heading_13129" data-types="analysis" data-content-heading-label="
 III.
Analysis
" data-format="upper_case_roman_numeral" data-specifier="III" data-ordinal_start="3" data-confidences="very_high" id="heading_13129"&gt;&lt;span data-paragraph-id="13129" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13129" data-sentence-id="13140" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="13129" data-sentence-id="13145" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13154" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13154" data-sentence-id="13165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13165"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As its title suggests, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_13165"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;ostconviction &lt;span class="ldml-parenthetical"&gt;[r]&lt;/span&gt;emedies"&lt;/span&gt; &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; may seek
 in a criminal case.&lt;/span&gt; &lt;span data-paragraph-id="13154" data-sentence-id="13287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13287"&gt;&lt;span class="ldml-cite"&gt;Section &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; addresses &lt;span class="ldml-entity"&gt;requests to correct&lt;/span&gt;
 illegal sentences&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13287"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; deals with &lt;span class="ldml-entity"&gt;motions for the
 reduction&lt;/span&gt; of sentences; and &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13287"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the section&lt;/span&gt;
 pertinent here, discusses &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;ther &lt;span class="ldml-parenthetical"&gt;[r]&lt;/span&gt;emedies."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="13154" data-sentence-id="13491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13491"&gt;&lt;span class="ldml-cite"&gt;Section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; states that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; who has been aggrieved
 and is asserting &lt;span class="ldml-quotation quote"&gt;"either a right to be released or to
 have a judgment of conviction set aside on one or more of the
 grounds enumerated in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13491"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; . . . may file a motion
 . . . to vacate, set aside, or correct the sentence."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="13154" data-sentence-id="13788" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; agree, as do &lt;span class="ldml-entity"&gt;we&lt;/span&gt;, that Segura's argument that
 &lt;span class="ldml-entity"&gt;she&lt;/span&gt;'s entitled to have her judgment of conviction set
 aside is grounded in claims that come within the purview of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13788"&gt;&lt;span class="ldml-cite"&gt;section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13978" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13978" data-sentence-id="13989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13989"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Where &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; part ways is in the interpretation of the
 procedures that govern the filing and resolution of pro se
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_13989"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt; containing a request for
 postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13978" data-sentence-id="14188" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_14188"&gt;&lt;span class="ldml-cite"&gt;Paragraphs &lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt; through &lt;span class="ldml-parenthetical"&gt;(IX)&lt;/span&gt; of
 section &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; set forth those procedures, which include the
 following:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_14293" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="14294" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="14299" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; shall promptly review all motions that
 substantially comply with Form 4, &lt;span class="ldml-entity"&gt;Petition for Postconviction
 Relief&lt;/span&gt; Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_14299"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;....&lt;/span&gt; &lt;span data-sentence-id="14450" class="ldml-sentence"&gt;If the motion and the
 files and record of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; show to the satisfaction of &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is not entitled to relief, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 shall enter written findings of fact and conclusions of law
 in denying the motion....&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="15" data-page_type="bare_number" data-id="pagenumber_14685"&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_14685" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="14686" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt; If &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; does not deny the motion under &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; above,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall cause a complete copy of said motion to be
 served on the prosecuting attorney if one has not yet been
 served by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="14904" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; has
 requested &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; be appointed in the motion, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall
 cause a complete copy of said motion to be served on &lt;span class="ldml-entity"&gt;the
 Public Defender&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="15064" class="ldml-sentence"&gt;Within 49 days, &lt;span class="ldml-entity"&gt;the Public Defender&lt;/span&gt; shall
 respond as to whether the &lt;span class="ldml-entity"&gt;Public Defender's Office&lt;/span&gt;
 intends to enter on behalf of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; pursuant to
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 21-1-104&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, 6 C.R.S.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="15243" class="ldml-sentence"&gt;In such response, &lt;span class="ldml-entity"&gt;the Public
 Defender&lt;/span&gt; shall identify whether any conflict exists, request
 any additional time needed to investigate, and add any claims
 &lt;span class="ldml-entity"&gt;the Public Defender&lt;/span&gt; finds to have arguable merit.&lt;/span&gt; &lt;span data-sentence-id="15448" class="ldml-sentence"&gt;Upon
 receipt of the response of &lt;span class="ldml-entity"&gt;the Public Defender&lt;/span&gt;, or
 immediately if no &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; was requested by &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; or
 if &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; already has &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall direct
 &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; to respond to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s claims or
 request additional time to respond within 35 days and &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt; to reply to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s response within
 21 days.&lt;/span&gt; &lt;span data-sentence-id="15811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; has no duty to respond until so
 directed by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="15883" class="ldml-sentence"&gt;Thereafter, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall grant a
 prompt hearing on the &lt;span class="ldml-entity"&gt;motion&lt;/span&gt; unless, based on the pleadings,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; finds that it is appropriate to enter a ruling
 containing written findings of fact and conclusions of law.&lt;/span&gt;
&lt;span data-sentence-id="16100" class="ldml-sentence"&gt;At the hearing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; shall take whatever evidence is
 necessary for the disposition of the motion.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="16204" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="16204" data-sentence-id="16205" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16224" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16224" data-sentence-id="16235" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16235"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; contends that, upon initial review of a pro
 se &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_16235"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; requesting postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a
 trial court&lt;/span&gt; has the authority under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_16235"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to deny
 any claim that lacks arguable merit and to then proceed under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_16235"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; with respect to any claim that is arguably
 meritorious.&lt;/span&gt; &lt;span data-paragraph-id="16224" data-sentence-id="16557" class="ldml-sentence"&gt;But the plain and ordinary meaning of the
 rule's language saps &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s argument.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16649" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16649" data-sentence-id="16660" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16660"&gt;&lt;span class="ldml-cite"&gt;¶25
 Paragraph &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; addresses situations in which review of the
 motion, the record, and the file satisfies &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is not entitled to any

&lt;span class="ldml-pagenumber" data-val="16" data-page_type="bare_number" data-id="pagenumber_16829"&gt;&lt;/span&gt;
 relief -i.e., that none of the claims advanced has arguable
 merit.&lt;/span&gt;&lt;span data-paragraph-id="16649" data-sentence-id="16898" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN6" class="ldml-noteanchor" id="note-ref-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; It directs &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to deny such a
 motion without further action through written findings of
 fact and conclusions of law.&lt;/span&gt; &lt;span data-paragraph-id="16649" data-sentence-id="17032" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17032"&gt;&lt;span class="ldml-cite"&gt;Paragraph &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in turn, applies
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; does not deny the motion under
 &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16649" data-sentence-id="17120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17032"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16649" data-sentence-id="17142" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17142"&gt;&lt;span class="ldml-cite"&gt;paragraph
 &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is triggered if &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17142"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is inapplicable because
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concludes that at least one claim in &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s motion has arguable merit.&lt;/span&gt; &lt;span data-paragraph-id="16649" data-sentence-id="17320" class="ldml-sentence"&gt;And under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17320"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, if the motion contains a request for &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;,
 &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;court&lt;/span&gt; shall cause a &lt;em class="ldml-emphasis"&gt;complete&lt;/em&gt; copy of said
 motion to be served on the &lt;span class="ldml-parenthetical"&gt;[OPD]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16649" data-sentence-id="17476" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_17320"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17498" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17498" data-sentence-id="17509" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17509"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thus, upon its initial review of &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_17509"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;
 containing a request for postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 must either deny the motion and thus all of the claims, or
 not deny the motion and thus none of the claims -there is no
 halfway option.&lt;/span&gt; &lt;span data-paragraph-id="17498" data-sentence-id="17770" class="ldml-sentence"&gt;And if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denies all of the claims, it
 must enter written findings of fact and conclusions of law
 without taking further action.&lt;/span&gt; &lt;span data-paragraph-id="17498" data-sentence-id="17908" class="ldml-sentence"&gt;But if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denies none
 of the claims, it must grant the request for postconviction
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and forward a complete copy of the motion to &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; and the

&lt;span class="ldml-pagenumber" data-val="17" data-page_type="bare_number" data-id="pagenumber_18079"&gt;&lt;/span&gt;
 OPD.&lt;/span&gt; &lt;span data-paragraph-id="17498" data-sentence-id="18086" class="ldml-sentence"&gt;The OPD must then decide which claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; lack
 arguable merit and should be abandoned, which arguably
 meritorious claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; should be supplemented, and which
 new claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; have arguable merit and should be
 added.&lt;/span&gt;&lt;span data-paragraph-id="17498" data-sentence-id="18319" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN7" class="ldml-noteanchor" id="note-ref-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; must thereafter brief any
 arguably meritorious claims, including those supplemented and
 added.&lt;/span&gt;&lt;span data-paragraph-id="17498" data-sentence-id="18430" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN8" class="ldml-noteanchor" id="note-ref-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18433" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18433" data-sentence-id="18444" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18444"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Perhaps recognizing that the plain and ordinary meaning of
 the rule's language &lt;span class="ldml-parenthetical"&gt;(adopting an all-or-nothing approach)&lt;/span&gt;
 is not its friend, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; asks &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to focus on
 &lt;span class="ldml-quotation quote"&gt;"the rule's overall scheme."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18433" data-sentence-id="18653" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt;, the rule is silent on the scope of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt;'s authority&lt;/span&gt; with respect to motions that include
 both arguably meritorious claims and claims lacking arguable
 merit.&lt;/span&gt; &lt;span data-paragraph-id="18433" data-sentence-id="18853" class="ldml-sentence"&gt;Contrary to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s position, however,
 there is no gap in the rule for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to bridge.&lt;/span&gt; &lt;span data-paragraph-id="18433" data-sentence-id="18949" class="ldml-sentence"&gt;Any hybrid
 motion containing both arguably meritorious claims and claims
 that lack arguable merit is a motion &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may not deny
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_18949"&gt;&lt;span class="ldml-cite"&gt;paragraph

&lt;span class="ldml-pagenumber" data-val="18" data-page_type="bare_number" data-id="pagenumber_19101"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18433" data-sentence-id="19108" class="ldml-sentence"&gt;Instead, such a motion is governed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_19108"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 which addresses motions that contain at least one claim with
 arguable merit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19240" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19240" data-sentence-id="19251" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19251"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; insists, though, that it is illogical for &lt;span class="ldml-entity"&gt;a
 trial court&lt;/span&gt; to lose the authority to deny a claim lacking
 arguable merit under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_19251"&gt;&lt;span class="ldml-cite"&gt;paragraph &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; simply because the motion
 also includes a claim that has arguable merit.&lt;/span&gt; &lt;span data-paragraph-id="19240" data-sentence-id="19485" class="ldml-sentence"&gt;Be that as it
 may, our role here is to interpret and apply the rule as
 written, not to consider whether logic warrants a revision.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19618" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19618" data-sentence-id="19629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19629"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In any event, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree that our view of the rule's
 scheme is illogical.&lt;/span&gt; &lt;span data-paragraph-id="19618" data-sentence-id="19710" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; concludes that a
 request for postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_19710"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;
 must be granted because the motion contains at least one
 claim with arguable merit, why is it illogical to forward the
 entire &lt;span class="ldml-entity"&gt;motion to the OPD for its review&lt;/span&gt; of all the claims?&lt;/span&gt;
&lt;span data-paragraph-id="19618" data-sentence-id="19988" class="ldml-sentence"&gt;The OPD can then take a closer look at the motion and
 determine which claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; to abandon, supplement, and
 add.&lt;/span&gt; &lt;span data-paragraph-id="19618" data-sentence-id="20109" class="ldml-sentence"&gt;In this regard, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'re mindful that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;
 typically has access to more information than &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; in a
 criminal case.&lt;/span&gt; &lt;span data-paragraph-id="19618" data-sentence-id="20238" class="ldml-sentence"&gt;Of course, whether this is the ideal approach
 is debatable-reasonable minds may differ on the optimal
 procedure-but it is certainly not illogical.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20387" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20387" data-sentence-id="20398" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_20398"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are equally unmoved by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s argument that
 our &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_20398"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; will lead to
 inefficiency and waste of judicial resources because it will
 require &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; to proceed &lt;span class="ldml-quotation quote"&gt;"with &lt;em class="ldml-emphasis"&gt;all&lt;/em&gt; the
 claims

&lt;span class="ldml-pagenumber" data-val="19" data-page_type="bare_number" data-id="pagenumber_20640"&gt;&lt;/span&gt;
 raised in a &lt;span class="ldml-entity"&gt;pro se motion&lt;/span&gt; even if it finds . . . that only
 &lt;em class="ldml-emphasis"&gt;one&lt;/em&gt; claim has arguable merit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20387" data-sentence-id="20733" class="ldml-sentence"&gt;Again, this
 argument goes to the wisdom of the rule, so this is the wrong
 forum in which to raise it.&lt;/span&gt; &lt;span data-paragraph-id="20387" data-sentence-id="20837" class="ldml-sentence"&gt;At any rate, the time it takes &lt;span class="ldml-entity"&gt;a
 trial court&lt;/span&gt; to conduct its initial review of a relevant
 motion may actually be &lt;em class="ldml-emphasis"&gt;reduced&lt;/em&gt; under the
 interpretation &lt;span class="ldml-entity"&gt;we&lt;/span&gt; embrace here.&lt;/span&gt; &lt;span data-paragraph-id="20387" data-sentence-id="21002" class="ldml-sentence"&gt;Take &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; for example.&lt;/span&gt;
&lt;span data-paragraph-id="20387" data-sentence-id="21030" class="ldml-sentence"&gt;Once &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; concluded that Segura's motion set
 forth at least one claim with arguable merit, there was no
 need to review the remaining claims.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21184" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21184" data-sentence-id="21195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_21195"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 True, it's possible that after postconviction
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s review, there may be more claims to litigate,
 which would likely increase the time it takes to resolve the
 motion.&lt;/span&gt; &lt;span data-paragraph-id="21184" data-sentence-id="21374" class="ldml-sentence"&gt;But those will all necessarily be claims that
 postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; represents have arguable merit.&lt;/span&gt; &lt;span data-paragraph-id="21184" data-sentence-id="21476" class="ldml-sentence"&gt;Should
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; sacrifice such claims in a criminal case based on concerns
 over judicial economy and limited resources?&lt;/span&gt; &lt;span data-paragraph-id="21184" data-sentence-id="21592" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; think not.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21606" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21606" data-sentence-id="21617" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_21617"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Lastly, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; seeks refuge in the limited nature of
 the statutory right to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21606" data-sentence-id="21732" class="ldml-sentence"&gt;It urges &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to
 declare that its proposed approach is consistent with the
 principle in Colorado jurisprudence that the statutory right
 to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is limited.&lt;/span&gt; &lt;span data-paragraph-id="21606" data-sentence-id="21907" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt;'s effort flounders because the limited nature
 of the statutory right to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is in
 lockstep with the plain and ordinary meaning of the language
 of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_21907"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22121" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22121" data-sentence-id="22132" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_22132"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The statutory right to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is
 &lt;span class="ldml-quotation quote"&gt;"tenuously premised on &lt;span class="ldml-entity"&gt;an interpretation of &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt;&lt;/span&gt;
 creating and governing the &lt;span class="ldml-parenthetical"&gt;[OPD]&lt;/span&gt; and requiring that

&lt;span class="ldml-pagenumber" data-val="20" data-page_type="bare_number" data-id="pagenumber_22299"&gt;&lt;/span&gt;
 office to prosecute post-conviction remedies which have
 arguable merit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22121" data-sentence-id="22375" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887405428" data-vids="887405428" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_22427,sentence_22132"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Silva v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;156 P.3d
 1164, 1168&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;quoting &lt;span class="ldml-relatingauthority"&gt;with approval&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890611870" data-vids="890611870" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_22132"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Hickey&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;914 P.2d 377, 378&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="22121" data-sentence-id="22504" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN9" class="ldml-noteanchor" id="note-ref-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887405428" data-vids="887405428" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_22504"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Silva&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; noted that &lt;span class="ldml-entity"&gt;section&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;21-1-104&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, requires the OPD to
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;rosecute any appeals or &lt;em class="ldml-emphasis"&gt;other remedies . .
 .&lt;/em&gt; after conviction that the &lt;span class="ldml-parenthetical"&gt;[OPD]&lt;/span&gt; considers to be in the
 interest of justice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22121" data-sentence-id="22719" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887405428" data-vids="887405428" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_22504"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Silva&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;156 P.3d at 1168&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(first &lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22121" data-sentence-id="22792" class="ldml-sentence"&gt;Continuing,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; said that decades earlier a division of &lt;span class="ldml-entity"&gt;the court of
 appeals&lt;/span&gt; had read the &lt;span class="ldml-quotation quote"&gt;"other remedies"&lt;/span&gt; statutory
 language as including arguably meritorious &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_22792"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 motions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22121" data-sentence-id="22979" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="embeddedsentence_22984,sentence_22792"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;referring to the division's
 &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889470318" data-vids="889470318" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_22792"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Duran&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;757 P.2d 1096, 1097&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22121" data-sentence-id="23081" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; adopted the same reading because &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 inferred that it had been ratified by our General Assembly.&lt;/span&gt;
&lt;span data-paragraph-id="22121" data-sentence-id="23181" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887405428" data-vids="887405428" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_23081"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Silva&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;156 P.3d at 1168&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23206" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23206" data-sentence-id="23217" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_23217"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thus, as &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; points out, our &lt;span class="ldml-entity"&gt;court in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887405428" data-vids="887405428" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_23217"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Silva&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; didn't interpret &lt;span class="ldml-quotation quote"&gt;"other
 remedies"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_23217"&gt;&lt;span class="ldml-cite"&gt;section 21-1-104&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as encompassing all
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_23217"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="23385" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_23217"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="23389" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; recognized
 that the statutory right to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; extends
 only to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_23389"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motions&lt;/span&gt; that are &lt;em class="ldml-emphasis"&gt;arguably
 meritorious&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="23535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_23389"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="23539" class="ldml-sentence"&gt;More specifically, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 determined that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; has no right to the appointment
 of postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in conjunction with &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_23539"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; if &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; concludes that the motion
 is &lt;span class="ldml-quotation quote"&gt;"wholly unfounded,"&lt;/span&gt; or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the OPD concludes
 that &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_23539"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="21" data-page_type="bare_number" data-id="pagenumber_23817"&gt;&lt;/span&gt;
 motion&lt;/span&gt; lacks arguable merit.&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="23848" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_23539"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="embeddedsentence_23877,sentence_23539"&gt;&lt;span class="ldml-cite"&gt;§ 21-1-104&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"In no case, however, shall &lt;span class="ldml-entity"&gt;the
 state&lt;/span&gt; &lt;span class="ldml-entity"&gt;public defender&lt;/span&gt; be required to prosecute any appeal or
 other remedy unless &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; &lt;span class="ldml-entity"&gt;public defender&lt;/span&gt; is satisfied
 first that there is arguable merit to the proceeding."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890180158" data-vids="890180158" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_23539"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Breaman&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;939 P.2d 1348, 1351&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"A &lt;span class="ldml-entity"&gt;court&lt;/span&gt;-appointed &lt;span class="ldml-entity"&gt;public defender&lt;/span&gt; does not have a duty
 to prosecute a claim for post-conviction relief after
 determining that there is no arguable merit to &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s claim."&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="embeddedsentence_24343,sentence_23539"&gt;&lt;span class="ldml-cite"&gt;Colo. RPC 3.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"A lawyer
 shall not bring or defend a proceeding, or assert or
 controvert an issue therein, unless there is a basis in law
 and fact for doing so that is not frivolous ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="24521" class="ldml-sentence"&gt;In
 other words, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; and the OPD both &lt;span class="ldml-quotation quote"&gt;"must find that
 &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_24521"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; has arguable merit
 before the statutory right to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; is
 triggered."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23206" data-sentence-id="24707" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887405428" data-vids="887405428" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_24521"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Silva&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;156 P.3d at 1168&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24732" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24732" data-sentence-id="24743" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_24743"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 These limitations, however, are entirely consistent with our
 construction of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_24743"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24732" data-sentence-id="24851" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 finds that a pro se &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_24851"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; is wholly unfounded
 &lt;span class="ldml-parenthetical"&gt;(i.e., that all of the claims in the motion lack arguable
 merit)&lt;/span&gt;, it must deny the relief requested without further
 action by issuing written findings of fact and conclusions of
 law.&lt;/span&gt; &lt;span data-paragraph-id="24732" data-sentence-id="25120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_24851"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24732" data-sentence-id="25143" class="ldml-sentence"&gt;But if &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; finds that
 a pro se &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_25143"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt; is not wholly unfounded &lt;span class="ldml-parenthetical"&gt;(i.e.,
 that at least one claim in the motion has arguable merit)&lt;/span&gt;, it
 must appoint the OPD and forward a complete copy of the
 motion to that office and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24732" data-sentence-id="25404" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_25143"&gt;&lt;span class="ldml-cite"&gt;Crim.

&lt;span class="ldml-pagenumber" data-val="22" data-page_type="bare_number" data-id="pagenumber_25412"&gt;&lt;/span&gt;
 P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24732" data-sentence-id="25430" class="ldml-sentence"&gt;The OPD must then determine which claims &lt;span class="ldml-parenthetical"&gt;(if
 any)&lt;/span&gt; lack arguable merit and should be abandoned, which
 arguably meritorious claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; should be supplemented,
 and which new claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; have arguable merit and should
 be added.&lt;/span&gt;&lt;span data-paragraph-id="24732" data-sentence-id="25666" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN10" class="ldml-noteanchor" id="note-ref-ftn.FN10"&gt;10&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25669" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25669" data-sentence-id="25680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25680"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In short, nothing about the limited nature of the statutory
 right to postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; dissuades &lt;span class="ldml-entity"&gt;us&lt;/span&gt; from our
 &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_25680"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25669" data-sentence-id="25844" class="ldml-sentence"&gt;Where, as here,
 the language of a rule of criminal procedure is unambiguous,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are duty bound to effectuate its plain and ordinary
 meaning.&lt;/span&gt; &lt;span data-paragraph-id="25669" data-sentence-id="25988" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="citeless" data-refglobal="case:peoplevsteen,2014co9" data-prop-ids="sentence_25844"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Steen&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25844"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovsteencaseno13sa123318p3d487february3,2014"&gt;&lt;span class="ldml-cite"&gt;318 P.3d at 490&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26018" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26018" data-sentence-id="26029" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26029"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This is not to say that the clock has struck midnight on any
 alternative procedures for handling pro se &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_26029"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 motions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26018" data-sentence-id="26164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reiterate that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; pass no judgment on the
 sagacity of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_26164"&gt;&lt;span class="ldml-cite"&gt;paragraphs &lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26018" data-sentence-id="26247" class="ldml-sentence"&gt;Our job today is simply
 to interpret and apply those paragraphs as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are currently
 written.&lt;/span&gt; &lt;span data-paragraph-id="26018" data-sentence-id="26344" class="ldml-sentence"&gt;That's just what &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve done.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="23" data-page_type="bare_number" data-id="pagenumber_26373"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-ordinal_end="4" data-value="IV.
 Conclusion" data-id="heading_26373" data-types="conclusion" data-content-heading-label="
 IV.
Conclusion
" data-format="upper_case_roman_numeral" data-specifier="IV" data-ordinal_start="4" data-confidences="very_high" id="heading_26373"&gt;&lt;span data-paragraph-id="26373" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="26373" data-sentence-id="26384" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;span data-paragraph-id="26373" data-sentence-id="26388" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="26399" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26399" data-sentence-id="26410" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26410"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For the foregoing reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the division
 correctly determined that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; violated the
 procedures set out in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_26410"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="26399" data-sentence-id="26578" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN11" class="ldml-noteanchor" id="note-ref-ftn.FN11"&gt;11&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; And because &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; does not
 challenge the division's determination that this error
 was not harmless, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26704" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26704" data-sentence-id="26715" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26715"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; thus remand the matter to the division with instructions
 to return it to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; for further proceedings
 consistent with this opinion.&lt;/span&gt; &lt;span data-paragraph-id="26704" data-sentence-id="26867" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; receives
 &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; again, it need not deal with the ineffective
 assistance claim related to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' plea
 negotiations, as that claim has been fully adjudicated.&lt;/span&gt; &lt;span data-paragraph-id="26704" data-sentence-id="27056" class="ldml-sentence"&gt;But
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must permit postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to review
 the ten remaining ineffective assistance claims.&lt;/span&gt;
&lt;span data-paragraph-id="26704" data-sentence-id="27172" class="ldml-sentence"&gt;Postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; must then determine which claims &lt;span class="ldml-parenthetical"&gt;(if
 any)&lt;/span&gt; lack merit and should be abandoned, which arguably
 meritorious claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; should be supplemented, and which
 new claims &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; have arguable merit and should be added.&lt;/span&gt;
&lt;span data-paragraph-id="26704" data-sentence-id="27414" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; decides to move forward with any claims, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must
 be briefed, and once fully briefed, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must decide
 whether to hold a hearing before resolving them.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27585" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="27585" data-sentence-id="27586" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27596" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="27596" data-sentence-id="27597" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; There is also &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; that addresses
 postconviction remedies.&lt;/span&gt; &lt;span data-paragraph-id="27596" data-sentence-id="27665" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_27597"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-410, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27596" data-sentence-id="27696" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, however, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are concerned only with
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_27696"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27760" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="27760" data-sentence-id="27761" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; infer that the references to the
 OPD in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_27761"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; include the OADC when the
 OPD has a conflict of interest.&lt;/span&gt; &lt;span data-paragraph-id="27760" data-sentence-id="27893" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="embeddedsentence_27928,sentence_27761"&gt;&lt;span class="ldml-cite"&gt;§
 21-2-101&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he alternate defense
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; shall provide legal representation in circumstances
 in which &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; &lt;span class="ldml-entity"&gt;public defender&lt;/span&gt; has a conflict of interest
 in providing legal representation."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27760" data-sentence-id="28116" class="ldml-sentence"&gt;For brevity's
 sake, when &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discuss &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_28116"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in general terms in
 this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; simply refer to the OPD.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28234" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="28234" data-sentence-id="28235" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN3" class="ldml-notemarker" id="note-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; raised, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed
 to review, the following issue:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_28309" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="28310" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="28313" class="ldml-sentence"&gt;Whether a postconviction &lt;span class="ldml-entity"&gt;court&lt;/span&gt; violates &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_28313"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by summarily denying some of the claims
 raised in a &lt;span class="ldml-entity"&gt;pro se motion&lt;/span&gt; and limiting the scope of appointed
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s representation to claims that survive summary
 denial.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28553" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="28553" data-sentence-id="28554" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN4" class="ldml-notemarker" id="note-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also found that trial
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had not been ineffective in failing to communicate to
 Segura any plea offer sufficiently in advance of the
 offer's expiration deadline.&lt;/span&gt; &lt;span data-paragraph-id="28553" data-sentence-id="28736" class="ldml-sentence"&gt;Although Segura raised this
 specific claim for the first time at the hearing, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not
 address its untimeliness here because it doesn't affect
 our analysis.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28897" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="28897" data-sentence-id="28898" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN5" class="ldml-notemarker" id="note-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; recognize that in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:peoplevtallent,2021co68" data-prop-ids="sentence_28898"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Tallent&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO 68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_28898"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899558146" data-vids="899558146" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_28898"&gt;&lt;span class="ldml-cite"&gt;495 P.3d 944, 948&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 said that &lt;span class="ldml-quotation quote"&gt;"an &lt;span class="ldml-entity"&gt;appellate court&lt;/span&gt; has an independent,
 affirmative duty to determine whether a claim is preserved
 and what standard of review should apply, regardless of the
 positions taken by &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28897" data-sentence-id="29188" class="ldml-sentence"&gt;But context matters.&lt;/span&gt; &lt;span data-paragraph-id="28897" data-sentence-id="29209" class="ldml-sentence"&gt;In
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="citeless" data-refglobal="case:peoplevtallent,2021co68" data-prop-ids="sentence_29209"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tallent&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had to determine whether &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were bound
 by &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' agreement and the division's
 assumption that an issue was preserved.&lt;/span&gt; &lt;span data-paragraph-id="28897" data-sentence-id="29351" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; refused to have
 our hands tied by &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; or the division.&lt;/span&gt; &lt;span data-paragraph-id="28897" data-sentence-id="29418" class="ldml-sentence"&gt;Here, by
 contrast, there is no agreement on whether Segura preserved
 her claim, and the division explicitly rejected &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt;'s contention that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; failed to do so.&lt;/span&gt; &lt;span data-paragraph-id="28897" data-sentence-id="29593" class="ldml-sentence"&gt;Yet,
 &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; elected not to include the preservation issue
 in its &lt;span class="ldml-entity"&gt;petition for writ&lt;/span&gt; of certiorari.&lt;/span&gt; &lt;span data-paragraph-id="28897" data-sentence-id="29702" class="ldml-sentence"&gt;Having made its bed,
 &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; must lie in it.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="29756" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="29756" data-sentence-id="29757" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN6" class="ldml-notemarker" id="note-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In conducting this initial review, &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; should consider, among other things, whether the
 motion: is timely; fails to state adequate factual or legal
 grounds for relief; states legal grounds for relief that lack
 merit; states factual grounds that, even if true, don't
 entitle &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to relief; and states factual
 allegations that, if true, entitle &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to relief,
 but the files and records of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; satisfy &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that
 those allegations are untrue.&lt;/span&gt; &lt;span data-paragraph-id="29756" data-sentence-id="30249" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_29757"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30272" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="30272" data-sentence-id="30273" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN7" class="ldml-notemarker" id="note-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_30273"&gt;&lt;span class="ldml-cite"&gt;Paragraph &lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires the OPD to
 indicate whether it needs additional time to investigate.&lt;/span&gt; &lt;span data-paragraph-id="30272" data-sentence-id="30369" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 infer from this language that the OPD may supplement any
 arguably meritorious claims advanced by &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30487" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="30487" data-sentence-id="30488" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN8" class="ldml-notemarker" id="note-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The division read &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_30488"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(IV)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as requiring an evidentiary hearing whenever
 &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; concludes during its initial review of a &lt;span class="ldml-entity"&gt;pro se
 motion&lt;/span&gt; that at least one claim has merit and that a request
 for postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; should thus be granted.&lt;/span&gt; &lt;span data-paragraph-id="30487" data-sentence-id="30757" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_30488"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Segura&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶¶ 11-12, 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30487" data-sentence-id="30783" class="ldml-sentence"&gt;This is incorrect.&lt;/span&gt; &lt;span data-paragraph-id="30487" data-sentence-id="30802" class="ldml-sentence"&gt;Even
 if, upon an initial review, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; declines to deny such a
 motion outright, it may subsequently resolve the motion
 without a hearing after any arguably meritorious claims
 pursued by postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; have been fully briefed.&lt;/span&gt;
&lt;span data-paragraph-id="30487" data-sentence-id="31044" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_30802"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(V)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31070" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="31070" data-sentence-id="31071" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN9" class="ldml-notemarker" id="note-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The statutes&lt;/span&gt; creating and governing
 the OPD are &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§§ 21-1-103 and 21-1-104, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31164" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="31164" data-sentence-id="31165" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN10" class="ldml-notemarker" id="note-ftn.FN10"&gt;10&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; realize that under our analysis,
 the OPD could be appointed as postconviction &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; on a
 claim that the OPD later concludes lacks arguable merit and
 should be abandoned.&lt;/span&gt; &lt;span data-paragraph-id="31164" data-sentence-id="31346" class="ldml-sentence"&gt;But this is inevitable under any system.&lt;/span&gt;
&lt;span data-paragraph-id="31164" data-sentence-id="31387" class="ldml-sentence"&gt;The OPD's appointment is necessary at the front end to
 allow it to review any motions that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; has
 determined are not wholly unfounded.&lt;/span&gt; &lt;span data-paragraph-id="31164" data-sentence-id="31537" class="ldml-sentence"&gt;The same result would
 obtain under &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s approach&lt;/span&gt;: The OPD could be
 appointed to pursue a claim that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; finds has
 arguable merit, but the OPD might subsequently conclude that
 the claim lacks arguable merit after all and should be
 abandoned.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31808" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="31808" data-sentence-id="31809" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN11" class="ldml-notemarker" id="note-ftn.FN11"&gt;11&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; To the extent that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885882188" data-vids="885882188" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_31809"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Terry&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 COA 9&lt;/span&gt;, &lt;span class="ldml-cite"&gt;488 P.3d 459&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and other decisions
 from &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; are inconsistent with this opinion,
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are hereby overruled.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="31986" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="31986" data-sentence-id="31987" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;